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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                             CASE NO.: 1:07-CR-021-SPM

LUIS MATA-MORENO,

             Defendant.

________________________________/

           ORDER GRANTING MOTION TO CONTINUE SENTENCING

      THIS CAUSE comes before the Court on the Defendant’s motion to

continue sentencing (doc. 218). Upon consideration, it is hereby

      ORDERED AND ADJUDGED as follows:

      1.     Defendant’s motion (doc. 218 ) is granted.

      2.     Defendant’s sentencing is reset for Monday, March 2, 2009 at 1:30

             p.m.

      DONE AND ORDERED this second day of January, 2009.



                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
